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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


   In re:                                                           Chapter 11

  WHITE EAGLE ASSET PORTFOLIO, LP, WHITE                            Case No. 18-12808 (KG)
  EAGLE GENERAL PARTNER, LLC, and
  LAMINGTON ROAD DESIGNATED ACTIVITY                                (Jointly Administered)
  COMPANY (f/k/a LAMINGTON ROAD LIMITED),

                                       Debtors.



  EMERGENT CAPITAL, INC., WHITE EAGLE ASSET
  PORTFOLIO, LP, WHITE EAGLE GENERAL
  PARTNER, LLC, and LAMINGTON ROAD
  DESIGNATED ACTIVITY COMPANY (f/k/a
  LAMINGTON ROAD LIMITED),
                                                                    Adv. Proc. No. 19-50096 (KG)
                                       Plaintiffs,

                         v.

  LNV CORPORATION, SILVER POINT CAPITAL
  L.P., and GWG HOLDINGS, INC.,

                                       Defendants.


   AMENDED SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the amended complaint which is attached to this summons
with the clerk of the bankruptcy court within 14 days after the date of issuance of this summons.

                   Address of Clerk:           United States Bankruptcy Court
                                               824 Market Street, 3rd Floor
                                               Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney. Name and Address of
Plaintiff’s Attorneys:

        KASOWITZ BENSON TORRES LLP                            PACHULSKI STANG ZIEHL & JONES LLP
        Marc E. Kasowitz                                      Richard M. Pachulski (CA Bar No. 62337)
        Sheron Korpus                                         Ira D. Kharasch (CA Bar No. 109084)
        Gavin D. Schryver                                     Maxim B. Litvak (CA Bar No. 215852)
        Alycia Regan Benenati                                 Colin R. Robinson (DE Bar No. 5524)
        1633 Broadway                                         919 North Market Street, 17th Floor
        New York, NY 10019                                    P.O. Box 8705
        Telephone: (212) 506-1700                             Wilmington, DE 19899-8705 (Courier 19801)
        Facsimile: (212) 506-1800                             Telephone: (302) 652-4100
        Email: mkasowitz@kasowitz.com                         Facsimile: (302) 652-4400
                 skorpus@kasowitz.com                         Email: rpachulski@pszjlaw.com
                 gschryver@kasowitz.com                                ikharasch@pszjlaw.com
                 abenenati@kasowitz.com                                mlitvak@pszjlaw.com
                                                                       crobinson@pszjlaw.com

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.




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YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the amended complaint will be
held at the following time and place.
                             Address: United States Bankruptcy Court   Courtroom No. 3
                             824 Market Street, 6th Floor
                             Wilmington, DE 19801                      Date and Time: May 15, 2019 at 10:00 a.m. ET

                             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
                             YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
                             JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN
                             THE AMENDED COMPLAINT.
United States Bankruptcy
Court for the District of Delaware                            /s/ Una O’Boyle
Date: March 27, 2019                                          Clerk of the Bankruptcy Court




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                                     CERTIFICATE OF SERVICE

I, Colin R. Robinson, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this summons and a copy of the amended complaint was made March 27, 2019 by:


        Mail Service: Regular, first class United States mail, postage fully pre-paid, certified mail, return
        receipt requested, and/or hand delivery addressed to the individuals on the attached service lists in
        the manner indicated therein:

                                  SEE ATTACHED SERVICE LISTS

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
mail addressed to the following officer of the defendant at:


        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: March 27, 2019                                      /s/ Colin R. Robinson
                                                           Colin R. Robinson (DE Bar No. 5524)
                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                           919 North Market Street, 17th Floor
                                                           Wilmington, DE 19899-8705 (Courier 19801)




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White Eagle – Service List re Complaint           Certified Mail Return Receipt
Main Case No. 18-12808 (KG)                       (Registered Agent for GWG Holdings, Inc.)
Doc. No. 222330                                   Registered Agent Solutions, Inc.
03 – First Class Mail                             9 E. Loockerman Street, Suite 311
03 – Certified Mail Return Receipt                Dover, DE 19901


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David Turetsky, Esq.
Andrew Zatz, Esq.
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1221 Avenue of the Americas
New York, NY 10020-1095

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L.P.)
Cogency Global Inc.
850 New Burton Road, Suite 201
Dover, DE 19904

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(Registered Agent for GWG Holdings, Inc.)
Registered Agent Solutions, Inc.
9 E. Loockerman Street, Suite 311
Dover, DE 19901

Certified Mail Return Receipt
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David Turetsky, Esq.
Andrew Zatz, Esq.
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1221 Avenue of the Americas
New York, NY 10020-1095

Certified Mail Return Receipt
(Registered Agent for Silver Point Capital,
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White Eagle – Service List re Adversary             First Class Mail
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   In re:                                                        Chapter 11

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  COMPANY (f/k/a LAMINGTON ROAD LIMITED),

                                    Debtors.



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  PORTFOLIO, LP, WHITE EAGLE GENERAL
  PARTNER, LLC, and LAMINGTON ROAD
  DESIGNATED ACTIVITY COMPANY (f/k/a
  LAMINGTON ROAD LIMITED),
                                                                 Adv. Proc. No. 19-50096 (KG)
                                    Plaintiffs,

                         v.

  LNV CORPORATION, SILVER POINT CAPITAL
  L.P., and GWG HOLDINGS, INC.,

                                    Defendants.



                              NOTICE OF DISPUTE RESOLUTION ALTERNATIVES
        As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement
of your case, however, can often produce a resolution more quickly than appearing before a judge. Additionally,
settlement can also reduce the expense, inconvenience, and uncertainty of litigation.
        There are dispute resolution structures, other than litigation, that can lead to resolving your case.
Alternative Dispute Resolution (ADR) is offered through a program established by this Court. The use of these
services are often productive and effective in settling disputes. The purpose of this Notice is to furnish general
information about ADR.
         The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and
arbitration. In each, the process is presided over by an impartial third party, called the “neutral”.
        In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement on
you. It fosters an environment where offers can be discussed and exchanged. In the process, together, you and
your attorney will be involved in weighing settlement proposals and crafting a settlement. The Court in its Local
Rules requires all ADR processes, except threat of a potential criminal action, to be confidential. You will not be
prejudiced in the event a settlement is not achieved because the presiding judge will not be advised of the content
of any of your settlement discussions.
        Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the
mediator will act as an arbitrator. At that point, the process is the same as arbitration. You, through your counsel,
will present evidence to a neutral, who issues a decision. If the matter in controversy arises in the main bankruptcy
case or arises from a subsidiary issue in an adversary proceeding, the arbitration, though voluntary, may be
binding. If a party requests de novo review of an arbitration award, the judge will rehear the case.



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      Your attorney can provide you with additional information about ADR and advise you as to whether
and when ADR might be helpful in your case.


 Dated: March 27, 2019                              /s/ Una O’Boyle
                                                    Clerk of the Court




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